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 UNITED STATES DISTRICT COURT                                  Case No.: 1:21-cv-1577-KHP
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------X
 FELIPE CIRNE DE LOS SANTOS,


                                    Plaintiff,

                   -vs.-                                             10/03/2023



 94 CORNER CAFE CORP., MOHINDER
 SINGH, BALWINDER SINGH, PARMAJIT
 KAUR and KADRA ZARWI,

                                     Defendants.
 -------------------------------------------------------X

                                                 JUDGMENT

        WHEREAS, Plaintiff FELIPE CIRNE DE LOS SANTOS, filed a complaint against

Defendants, 94 CORNER CAFE CORP., MOHINDER SINGH, BALWINDER SINGH,

PARMAJIT KAUR and KADRA ZARWI, on February 22, 2021, alleging violations of the Fair

Labor Standards Act and New York Labor Law;

        WHEREAS, the parties filed a stipulation of dismissal without prejudice as to Defendants

PARMAJIT KAUR and KADRA ZARWI on September 14, 2022, [DE 52];

        WHEREAS, Defendants 94 CORNER CAFE CORP., MOHINDER SINGH, and

BALWINDER SINGH made an offer of judgment to Plaintiff, pursuant to Federal Rule of Civil

Procedure 68, on October 3, 2023;

        WHEREAS, the Plaintiff accepted the offer of judgment and filed a notice of the

acceptance on October 3, 2023;

        NOW THEREFORE, IT IS ORDERED, ADJUDGED, and DECREED that a judgment be

entered against the Defendants, 94 CORNER CAFE CORP., MOHINDER SINGH, and
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BALWINDER SINGH, jointly and severally, inclusive of attorneys’ fees and costs in favor of

Plaintiff FELIPE CIRNE DE LOS SANTOS, in the amount of Fifteen Thousand Dollars and Zero

Cents ($15,000.00).

Dated: New York, New York
        10/03/2023




                                          All conferences and deadlines are adjourned sine die,
                                          including the trial previously scheduled to begin on
                                          October 23, 2023.
